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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          )
                                                  )
       v.                                         )      CR. NO. 1:21-cr-00513-RBW
                                                  )
WILLIAM WRIGHT WATSON                             )

                         MOTION FOR DOWNWARD VARIANCE

       COMES NOW WILLIAM WRIGHT WATSON, by and through undersigned counsel,

Cecilia Vaca, and for the reasons set forth in Mr. Watson’s Sentencing Memorandum, requests

that the Court vary downward from the applicable guideline range and impose a sentence below

the advisory guideline range.

       Dated this 7th day of March 2023.

                                           Respectfully submitted,

                                           s/ Cecilia Vaca
                                           CECILIA VACA
                                           Bar No.: LA27157
                                           Bar No.: AZ025907
                                           Federal Defenders
                                           Middle District of Alabama
                                           817 South Court Street
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            )
                                                    )
       v.                                           )       CR. NO. 1:21-cr-00513-RBW
                                                    )
WILLIAM WRIGHT WATSON                               )

                               CERTIFICATE OF SERVICE

       I hereby certify that on March 7, 2023, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to all counsel

of record.

                                            Respectfully submitted,

                                            s/ Cecilia Vaca
                                            CECILIA VACA
                                            Bar No.: LA27157
                                            Bar No.: AZ025907
                                            Federal Defenders
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